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                            IN THE UNITED STATES DISTRICT COURT FOR THE

                                      EASTERN DISTRICT OF VIRGINIA

                                                Alexandria Division


      UNITED STATES OF AMERICA                        )
                                                      )        CASE NO. 1:18-CR-83-TSE
                                v.                    )
                                                      )        Trial Date: July 25, 2018
      PAUL J. MANAFORT, JR.,                          )
                                                      )        The Honorable T. S. Ellis, III
                                                      )
                                Defendant.            )


                                       GOVERNMENT'S EXHIBIT LIST

              The United States of America, by and through undersigned counsel, hereby submits its

      list of trial exhibits.



Ex.
                                             Description                                    Obj. Off’d Adm.
No.
1A       Photograph – 1046 N Edgewood Street, Arlington, VA
1B       Photograph – 29 Howard Street, New York, NY
1C       Photograph – 377 Union Street, Brooklyn, NY
1D       Photograph – 601 N Fairfax Street, Alexandria, VA
1E       Photograph – 174 Jobs Lane, Bridgehampton, NY
2A       Immunity Order – Witness A
2B       Immunity Order – Witness B
2C       Immunity Order – Witness C
2D       Immunity Order – Witness D
2E       Immunity Order – Witness E
 3       2005.10.24 Consulting Agreement
 4       2009.07.01 Consulting Agreement
 5       2006.01.03 Memo P. Manafort, T. Devine, V. Yanukovych, et al re
         Messages for January Next Wave of Television and Radio Ads
6        Devine Mulvey Longabaugh Invoices to Davis Manafort (2010, 2014)
7        2010.02.03 Email T. Devine to P. Manafort re Election Night Speech
8        2010.02.15 Email T. Devine to P. Manafort, et al re Job Well Done


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Ex.
                                       Description                                   Obj. Off’d Adm.
No.
 9      2010.02.16 Email T. Devine to P. Manafort re FYI
10      2010.08.12 Memo P. Manafort to V. Yanukovych et al re Media Strategy
11      2010.09.01 Email T. Devine to P. Manafort, R. Gates, et al re Talking
        Points
12      2011.09.20 Email Chain D. Rabin, J. Mulvey, P. Manafort, R. Gates, K.
        Kilimnik, T. Devine, et al re Ukraine - First Draft
13      2012.04 Email Chain T. Devine, R. Gates, P. Manafort, et al re Ukraine
14      2012.08.06 Email T. Devine to P. Manafort re Memo
15      2014.03.31 Email T. Devine to R. Gates, et al re Call - Important
16      2014.03.31 Email T. Devine to R. Gates, et al re Draft Proposal
17      2014.06.09 Email T. Devine to R. Gates, et al re Kyiv
18      2014.06.14 Email T. Devine to K. Kilimnik, R. Gates, et al re Ukraine Trip
19      2014.06.19 Email T. Devine to K. Kilimnik re Can u resend the talking
        points
20      2010.07.12 Memo Devine Mulvey Longabaugh & Rabin Strasberg to
        Davis Manafort Partners re 2010 Message Strategy and Proposal #1
21      2010.07.12 Memo Devine Mulvey Longabaugh & Rabin Strasberg to
        Davis Manafort Partners re 2010 Message Strategy and Proposal #2
22      2010.09.09 Chart re Every Level V4
23      2010.09.28 Invoice Rabin Strasberg to Davis Manafort Partners
24      2010.10.15 Invoice Rabin Strasberg to Davis Manafort Partners
25      2012.04.16 Memo D. Rabin, A. Strasberg to P. Manafort, R. Gates re
        Ukraine Media
26      2012.04.19 Memo D. Rabin, A. Strasberg to K. Kilimnik, P. Manafort &
        R. Gates re Meeting Agenda
27      2012.04.24 Memo D. Rabin, A. Strasberg to P. Manafort re Kyiv Meetings
28      2012.05.02 Email Chain K. Kilimnik, V. Tolmach, P. Manafort, A.
        Strasberg, T. Fabrizio, D. Rabin & R. Gates re Euro 2012 Scripts
29      2012.06.29 Memo D. Rabin, A. Strasberg to P. Manafort re New film crew
        recommendations
 30     2012.10.23 Invoice D. Rabin to DMP International
 31     2014.04.18 Invoice D. Rabin to DMP International
 32     2014.05.12 Invoice D. Rabin to DMP International
33A     Photograph – V. Yanukovych #1
33B     Photograph – V. Yanukovych #2
33C     Photograph – V. Yanukovych #3
 34     2017.06.27 DMP International FARA Filing
 35     2015.06.23 Peranova Loan Forgiveness Letter
 36     2016.03.08 Signed Banc of California Personal Financial Statement and
        Loan Application
37      2017.01.13 First Nationwide Title Disbursement Statement


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Ex.
                                     Description                                  Obj. Off’d Adm.
No.
38      Genesis Capital Documents
39      MC Brooklyn Holdings Ledger
40      2013.01.15 VY Agenda
41      2013.04.05 Memo P. Manafort to S. Lyovochkin re PR Effort this week in
        Kyiv
42      2013.04.22 Memo P. Manafort to V. Yanukovych re US Consultants
43      2013.04.25 Memo P. Manafort to S. Lyovochkin re Summary of Overdue
        Accounts
44      2014.09 Ukraine OB Campaign Strategy Powerpoint
45      2014.09.24 OB Daily Talking Points
46      2014.10.07 Memo P. Manafort to Campaign HQ re OB Campaign Leaflets
47      Memo re May 17 Rallies
48      2010.03.01 Sensoryphile Invoice for $20,000
49      Big Picture Solutions Invoice
50      Big Picture Solutions Bill of Materials
51      2011.11.08 Signed SP&C Home Improvement Renovation Proposal for
        174 Jobs Lane
52      2012.02.16 Signed SP&C Home Improvement Renovation Proposal for 29
        Howard St
 53     2013.03.01 SP&C Proposal for 83 Whooping Hollow Road
 54     SP&C Home Improvement Proposal for 174 Jobs Lane
 55     Photographs – Clothing with Alan Couture Labels
 56     Photographs – Clothing with House of Bijan Labels
 57     Photographs – House of Bijan Watch
 58     J&J Oriental Rug Gallery Documents
 59     Onessimo Fine Art Certificates of Authenticity for Paintings
60A     2016 Season New York Yankees Account
60B     Ukraine Documents
60C     Party of Regions Advance and Training
60D     Residential Lease Agreement, Request for Tax Transcripts, Mercedes Benz
        Records, and Authorization Forms
60E     Ukrainian Strategy Memos
 61     Chart – P. Manafort Foreign Entities
62A     Cyprus Incorporation Documents
62B     St. Vincent and the Grenadines Incorporation Documents
62C     United Kingdom Incorporation Documents
 63     Chart – P. Manafort Foreign Bank Accounts
64A     Bank Records – Cyprus
64B     Bank Records – St. Vincent and the Grenadines
64C     Bank Records – United Kingdom


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Ex.
                                      Description                                Obj. Off’d Adm.
No.
65A      Chart – Aegis Holdings Payments
65B      Chart – Alan Couture Payments
65C      Chart – Big Picture Solutions Payments
65D      Chart – Federal Stone & Brick Payments
65E      Chart – House of Bijan Payments
65F      Chart – J&J Oriental Rug Gallery Payments
65G      Chart – Land Rover of Alexandria Motors Payments
65H      Chart – Mercedes Benz of Alexandria Payments
 65I     Chart – New Leaf Landscape Payments
65J      Chart – Sabatello Construction Payments
65K      Chart – Scott Wilson Landscaping Payments
65L      Chart – Sensoryphile Payments
65M      Chart – SP&C Home Improvement Payments
 66      Chart – P. Manafort Domestic Entities
67A      Virginia Incorporation Documents
67B      Delaware Incorporation Documents
 68      Chart – Property Overview
69A      Payment Flow Chart for 29 Howard St Property
69B      Payment Flow Chart for 1046 N Edgewood St Property
69C      Payment Flow Chart for 377 Union St Property
70A      First Republic Bank Accounts XXXXXXX6573 and XXXXXXX7373 for
         Jesand
70B      First Republic Bank/Pershing Account XXXXXXX5358 for J. Manafort
70C      First Republic Bank Account XXXXXXX6524 for DMP International
70D      First Republic Bank Account XXXXXXX9730 for P. and K. Manafort
70E      First Republic Bank Account XXXXXXX5868 for MC Soho
 71      TD Bank Trust Account XXXXXX5374 for B. Baldinger
 72      Chart – Vendor and Property Payments From Abroad
73A      FBAR Chart for 2010
73B      FBAR Chart for 2011
73C      FBAR Chart for 2012
73D      FBAR Chart for 2013
73E      FBAR Chart for 2014
 74      Deposit Analysis – Foreign Source of Funds Received by Foreign
         Accounts
75       Chart – P. Manafort Summary of Tax Returns
76       Summary of Foreign Wires to 3rd Party Vendors for the Benefit of Paul
         Manafort
77       Chart – P. Manafort Reported Personal Income
78       Chart – Analysis of Foreign Bank Accounts


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Ex.
                                   Description                             Obj. Off’d Adm.
No.
79   Chart – Selected Transactions
80   Chart – FARA Analysis
81   2012.11.19 Email Chain D. DeLuca to P. Manafort, A. Manafort, J.
     Browning re Contract
  82 2012.10.26 Email from P. Manafort to D. DeLuca re Manafort Project,
     Edgewood St, Arlington, VA
  83 Draft of Pergola
  84 Photograph – Pergola
  85 Photograph – Backyard
  86 Federal Stone and Brick Bank Records
  87 2013.05.29 Email Chain P. Manafort, D. Browning & D. DeLuca re
     Invoice from Federal Stone and Brick
  88 2012.08.21 Check from A. Manafort to McEnearney
  89 2012.08.21 Sales Contract for 1046 N. Edgewood St, Arlington, VA
  90 2012.08.31 A. Manafort Landtech Receipt
  91 2012.09.01 Email W. Holland to L. Flynn, P. Manafort re 1046 N.
     Edgewood St
  92 2012.09.10 Settlement Statement
  93 Chart – Purchase of 1046 N. Edgewood St, Arlington, VA
  94 Vendor Chart – SP&C
94A SP&C Home Improvements Invoices (2010-2014)
  95 SP&C Home Improvement Bank Records
96A Photograph – Backyard
 96B Photograph – Basement
 96C Photograph – Front of House
96D Photograph – Kitchen
 96E Photograph – Side of House (1)
 96F Photograph – Side of House (2)
96G Photograph – Waterfall Pond
  97 Vendor Chart – Alan Couture
97A Alan Couture Invoices (2010-2014)
  98 Alan Couture Bank Records
  99 2011.03.21 Email P. Manafort to M. Katzman re update
 100 2013.08.27 Email M. Katzman to P. Manafort re Statement 7-23-13
 101 2014.03.24 Email M. Katzman to R. Gates re Wire transfers
 102 Vendor Chart – Big Picture Solutions
102A Big Picture Solutions Invoices (2011-2014)
 103 Vendor Chart – Mercedes Benz of Alexandria
103A 2012.10.01 Invoice for K. Manafort Purchase of Mercedes Benz SL550



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 Ex.
                                     Description                               Obj. Off’d Adm.
 No.
103B    2012.10.01 Buyers Order for K. Manafort Purchase of Mercedes Benz
        SL550
104     Photographs – Mercedes Benz owned by P. Manafort
105     2012.10.01 K. Manafort Promissory Note for Mercedes Benz SL550
106     2012.10.05 $62,750 Wire Transfer from Lucicle Consultants Limited to
        Mercedes Benz of Alexandria
 107    Vendor Chart – New Leaf Landscape
107A    New Leaf Landscape Invoices (2010-2014)
108A    Photograph – Bridgehampton Driveway
108B    Photograph – Bridgehampton Pond
108C    Photograph – Bridgehampton Side of House
108D    Photograph – Bridgehampton Pergola
108E    Photograph – Bridgehampton Putting Green
108F    Photograph – Bridgehampton Pool House
 109    New Leaf Landscape Bank Records
 110    2012.06.21 Proposal
 111    Vendor Chart – House of Bijan
111A    House of Bijan Invoices (2010-2012)
 112    House of Bijan Bank Records
 113    2014.10.15 New York Yankees Ticket Agreement
 114    2011.11.28 Email from D. Saltmarsh to R. Barre & N. Pizzutello re FW
        2012 renewal payment
115     2016.03.22 Email P. Manafort to D. Fox re Yankees Season Ticket
        Licensee News
 116    2017.04.03 Email P. Manafort to D. Fox re Yankees 2017
 117    FinCEN Certifications
 118    Airbnb 29 Howard St Active Listing Days
 119    Airbnb 29 Howard St Listings
 120    Airbnb 29 Howard St Reservations
121A    2011 Davis Manafort Partners General Ledger
121B    2011 Davis Manafort Partners Financial Statements
121C    2011 P. Manafort and K. Manafort General Ledger
121D    2011 DMP International General Ledger
121E    2011 DMP International Financial Statements
122A    2012 DMP International General Ledger
122B    2012 DMP International Financial Statements
122C    2012 P. Manafort and K. Manafort General Ledger
123A    2013 DMP International General Ledger
123B    2013 DMP International Financial Statements
123C    2013 P. Manafort and K. Manafort Financial Statements


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 Ex.
                                      Description                                   Obj. Off’d Adm.
 No.
124A    2014 DMP International General Ledger
124B    2014 DMP International Financial Statements
124C    2014 P. Manafort and K. Manafort Financial Statements
125A    2015 DMP International General Ledger
125B    2015 DMP International Financial Statements
125C    2015 P. Manafort and K. Manafort Financial Statements
126A    2016 DMP International General Ledger
126B    2016.07.31 DMP International 2016 YTD Financial Statement
126C    2016.11.30 DMP International 2016 YTD Financial Statement
126D    2016 DMP International P&L
126E    2016 DMP International Financial Statements
126F    2016 P. Manafort and K. Manafort Financial Statements
 127    2015.02.05 Email Chain J. Manafort, K. Manafort, P. Ayliff, H. Washkuhn
        re MC Soho
128     2015.02.24 Email Chain H. Washkuhn, C. O'Brien, P. Ayliff, R. Gates et al
        re DMP International
129     2015.04.13 Email Chain H. Washkuhn, P. Ayliff, C. O'Brien, R. Gates, et
        al re DMP International
130     2015.08.26 Email Chain L. Tanner, C. O'Brien, H. Washkuhn re DMP
        International LLC
131     2015.12.01 Email Chain J. Yohai, H. Washkuhn, J. Manafort, P. Manafort
        re Howard St December Rent
132     2015.12.31 Email Chain H. Washkuhn, P. Manafort, R. Gates, C. Laporta,
        P. Ayliff re Time Sensitive - Collection of Information
133     2016 01.06 Email Chain H. Washkuhn & P. Manafort re Bills Through
        1.15.16
134     2016.01.07 Email Chain P. Manafort, R. Gates & H. Washkuhn re Transfer
135     2016.01.29 Email Chain R. Gates & H. Washkuhn re Transfer - Urgent
136     2016.02.22 Email Chain D. Duggan, H. Washkuhn, J. Yohai, P. Manafort
        et al re Evidence of Insurance; Declarations Page; Invoice attached - 377
        Union Street
137     2016.02.24 Email R. Gates to M. Francis, P. Manafort, H. Washkuhn re
        Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter Street -
        Declarations - NO Mortgagee listed both
138     2016.03.16 Email Chain L. Tanner, R. Gates & H. Washkuhn re 2015 P&L
        - IMPT (#1)
139     2016.03.16 Email Chain L. Tanner, R. Gates & H. Washkuhn re 2015 P&L
        - IMPT (#2)
140     2016.03.16 Email H. Washkuhn to R. Gates re 2015 P&L IMPT
141     2016.04.04 Email J. Yohai to P. Manafort and H. Washkuhn re Selene
        Finance Invoices



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Ex.
                                       Description                                   Obj. Off’d Adm.
No.
142     2016.05.24 Email Chain H. Washkuhn, R. Gates & P. Manafort re Funds
        URGENT
143     2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort, et al re
        Travelers Auto Cancellation - J. Manafort - invoice attached
144     2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort, et al re
        Travelers Auto Cancellation - J. Manafort - invoice attached
145     2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
        Manafort re Documents needed for Loan
146     2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, P. Manafort, C.
        Laporta re Documents needed for Loan
147     2016.08.21 Email Chain R. Gates, P. Manafort & H. Washkuhn re DMP
        Open Invoices
148     2016.12.20 Email Chain R. Gates, H. Washkuhn & P. Manafort re NKSFB
        Fee
149     2017.01.04 Email Chain, H. Washkuhn, D. Raico, C. Laporta et al re
        Financials for P. Manafort
150     2015.12.31 SOHO Holdings Company Returns
151     2012.12.31 MAN001-07 DMP International
152     KWC Tax Organizers for P. Manafort (2012-2014)
153     KWC Engagement Letters (2012-2016)
154     2014.08.26 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
        Paul's pending matters
155     2014.09.02 Email Chain R. Gates, P. Ayliff, C. O'Brien, C. Laporta re
        Union Street
156     2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
        NYC Property LLCs
157     2015.08.26 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
        Pending Items
158     2015.09.15 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re Call
        Me
159     2015.09.16 Email R. Gates to C. Laporta re DMP International, LLC
160     2015.09.16 Email C. Laporta to R. Gates re Loan doc?
161     2015.12.31 Email P. Manafort to H. Washkuhn re Time Sensitive -
        Collection of Information
162     2016.01.07 Email C. Laporta to D. Fallarino, P. Manafort re PJM CPA
        FIRM - Account Manager Details - C. Laporta
163     2016.02.04 Email Chain C. Laporta, D. Fallarino, M. Francis, R. Gates, P.
        Manafort re DMP Int'l Income Question
164     2016.02.05 Email C. Laporta to R. Gates re Manafort #XXXXX5212
165     2016.02.08 Email R. Gates to C. Laporta re Letter
166     2016.02.08 Email R. Gates to C. Laporta re Letter
167     2016.02.09 Email R. Gates to C. Laporta re Letter


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Ex.
                                      Description                                   Obj. Off’d Adm.
No.
168     2016.02.24 Email Chain C. Laporta, M. Francis, D. Fallarino, R. Gates, P.
        Manafort re Manafort #XXXXX5212
169     2016.03.15 Email Chain C. Laporta, P. Manafort, R. Gates re 377 Union St
        Construction Loan
170     2016.03.25 DMP International Ledger Report re Peranova
171     2016.04.05 Email Chain C. Laporta, C. O'Brien, R. Gates re DMP
        International Questions
172     2016.04.12 Email R. Gates to C. O'Brien re Pending Questions
173     2016.05.02 Email R. Gates to C. Laporta re Letter
174     2016.05.16 Email Chain C. Laporta, D. Fallarino, R. Gates re Manafort
        Items Needed
175     2016.08.10 Email C. Laporta to P. Manafort re 377 Union St loan
176     2016.08.11 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
        Washkuhn re Documents needed for Loan
177     2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, C. Laporta, P.
        Manafort re Documents needed for Loan
178     2016.09.04 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
        Paul's tax returns - more questions
179     2016.09.13 Email P. Manafort to R. Gates re Updates - DMP
180     2016.09.14 Email Chain R. Gates, P. Ayliff, C. Laporta re Updates - DMP
181     2016.10.04 Email Chain C. Laporta, T. Von Traer, P. Ayliff re Paul
        Manafort's pending matters
182     2016.10.06 Email Chain C. Laporta, P. Manafort, R. Gates re up to date?
183     2016.10.07 Email C. Laporta to P. Manafort re Lola Partners, LLC and
        draft gift tax returns
184     2016.12.28 Email Chain C. Laporta, R. Gates, H. Washkuhn, D. Raico re
        Financial Needed Asap
185     2017.06.08 Adjusting Journal Entries Report
186     DMP International 2014 1099-MISC Form
187     DMP International Funds Due to Peranova
188     [Intentionally Left Blank]
189     2015.09.15 DMP International Ledger Report – Telmar Investments
190     DMP International Ledger Reports – Peranova Entries
191     KWC Manafort Tax Returns Chart
192     2011.09.09 Peranova Loan Agreement
193     TB-01 - Adjusted Trial Balance (2014)
194     TB-01 - Adjusted Trial Balance (2015)
195     2015.09.15 Email R. Gates to C. Laporta re Forms
196     2009.09.09 Email Chain N. Lakkis, P. Ayliff, P. Manafort & D. Walters re
        LOAV
197     2011.03.24 Email from P. Manafort to M. Chrysostomides re Transfers
        from Leviathan

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Ex.
                                    Description                                  Obj. Off’d Adm.
No.
198   2011.08.21 Email from P. Ayliff to P. Manafort re 2010 Taxes
199   2011.10.04 Email Chain P. Ayliff, N. Lakkis, P. Manafort re 2010 tax
      filing
200   2011.11.29 Email Chain from P. Manafort to R. Gates re Payments
201   2012.06.29 Email Chain R. Gates, N. Lakkis, D. Walters & N. Lakkis re
      Foreign Accounts
202   2012.09.06 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
      international, LLC tax return - DUE 9.17.12
203   2012.09.16 Email Chain R. Gates, N. Lakkis, P. Ayliff, & C. O'Brien re
      FINAL FINAL Questions
204   2012.10.14 P. Manafort Signed IRS Form 8879
205   2013.02.05 Shipment from KWC to P. Manafort
206   2013.06.24 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re
      Foreign account report due 6.30.13
207   2013.08.29 Email from P. Ayliff to R. Gates & C. O'Brien re Paul
      unidentified transaction
208   2014.09.02 Email Chain R. Gates, P. Ayliff, C O'Brien & C. Laporta re
      Union Street
209   2014.09.04 Email from R. Gates to P. Ayliff re Paul's tax returns - more
      questions
210   2014.09.14 Email Chain H. Washkuhn, P. Ayliff, C. Laporta, R. Gates &
      L. Tanner re MC Soho Holdings
211   2014.12.07 Email Chain P. Ayliff, C O'Brien & C. Laporta re Call with
      Gates - for the 2014 file
212   2015.01.08 Email From P. Manafort to P. Ayliff re - UBS Mortgage
213   2015.02.05 Email Chain P. Manafort, J. Manafort, Yohai, K. Manafort, P.
      Ayliff, H. Washkuhn re MC Soho
214   2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
      NYC Property LLCs
215   2016.03.16 Email Chain P. Ayliff, N. Zeien, R. Gates, H. Washkuhn, C.
      O'Brien & C. Laporta re DMP International - Open Items
216   2016.10.03 Email Chain P. Manafort, C. Laporta, R. Gates & P. Ayliff re
      P. Manafort's pending matters
217   Selected KWC Invoices Manafort-Related Entities
218   2015.09.11 Email Chain C. O'Brien, C. Laporta, P. Ayliff, H. Washkuhn &
      R. Gates re DMP Sports Tickets
219   2015.09.15 Email from C. O'Brien to R. Gates cc C. Laporta, P. Ayliff re
      DMP Loan
220   2015.10.07 Email Chain R. Gates & C. O'Brien re Paul's 1040
221   2016.04.05 Email Chain R. Gates, C. O'Brien, C. Laporta re DMP
      International Questions
222   2016.04.15 Email Chain R. Gates, C. O'Brien, C. Laporta & P. Ayliff re
      Pending Questions


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Ex.
                                    Description                                   Obj. Off’d Adm.
No.
223   2015.12.24 Email Chain P. Manafort, D. Fallarino re 27 Howard Street Re-
      fi
224   2016.01.15 Email Chain D. Fallarino, M. Francis, J. Del Bene re Citizens
      Bank, N.A. Package Submitted (Loan Number XXXXX3998)
225   2016.01.21 Email Chain P. Manafort, D. Fallarino, M. Francis re locked
226   2016.01.21 Email P. Manafort to M. Francis re Part One
227   2016.01.27 Initial Loan Documents
228   2016.01.27 Email P. Manafort to M. Francis re Remaining Docs - Howard
      Mortgage
229   2016.02.02 Email P. Manafort to M. Francis re Use of Cash Memo
230   2016.02.04 Email Chain C. Laporta. D. Fallarino, M. Francis, R. Gates, P.
      Manafort re DMP Int'l Income Question
231   2016.02.09 Email Chain D. Fallarino, P. Manafort, M. Francis re DMP Int'l
      Income question
232   2016.02.12 Email Chain M. Guadron, D. Fallarino, T. Rodriguez re
      Manafort #XXXXX5212
233   2016.02.17 Log Entry Email P. Miceli, M. Guadron, D. Fallarino, M.
      Francis re ATP submitted Loan XXXXX5212 - Manafort, P.
234   2016.02.19 Log Entry Email S. Taft, M. Guadron, D. Fallarino re Secret
      Exception Request Submission [Manafort/XXXXX5212]
235   2016.02.21 Email Chain M. Francis, P. Manafort, H. Washkuhn, R. Gates,
      D. Fallarino re final document request
236   2016.02.23 Email M. Francis to D. Duggan re manafort morgagee clause
      update
237   2016.02.23 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
      re Final Document Request
238   2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
      update
239   2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
      update
240   2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
      re Final Document Request
241   2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
      re Final Document Request
242   2016.02.24 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
      re Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter
      Street - Declarations - NO Mortgagee listed both
243   2016.02.24 Email Chain C. Laporta, M. Francis, D. Fallarino, R. Gates, P.
      Manafort re Manafort #XXXXX5212
244   2016.02.24 Email M. Francis to J. Dos Santos re Manafort Additional
      conditions
245   2016.03.04 29 Howard St Signed 1003 Form ($2,730,000 Conventional)
246   2016.03.04 29 Howard St Signed 1003 Form ($682,500 HELOC)


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Ex.
                                     Description                                   Obj. Off’d Adm.
No.
247   2016.03.04 29 Howard St Closing Documents
248   2016.04.25 Email Chain P. Manafort, R. Gates, J. Yohai, D. Fallarino, C.
      Laporta, T. Rodriguez, H. Washkuhn re 377 Union St Construction Loan
249   2016.05.02 Letter C. Laporta to D. Fallarino
250   2016.05.02 Letter P. Manafort to D. Fallarino
251   2016.05.06 Email Chain P. Manafort, D. Fallarino, R. Gates. T. Rodriguez
      re Primary Residence Letter - Union St
252   2016.05.09 Email Chain T. Rodriguez, J. Yohai, D. Fallarino, P. Manafort
      re 377 Union St Consruction Loan
253   2016.05.16 Email Chain C. Laporta, P. Manafort, R. Gates, D. Fallarino, J.
      Yohai, T. Rodriguez re Manafort Items Needed
254   2016.05.17 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
      Rodriguez re Manafort Items Needed
255   2016.07.13 377 Union St Uniform Residential Loan Application
256   2016.08.09 Email Chain T. Rodriguez, D. Fallarino, P. Miceli, M. Guadron
      re Manafort - OMG
257   2016.08.16 Email T. Rodriguez to D. Fallarino re Manafort file
258   2017.08.17 Email Chain D. Fallarino, A. Howey, T. Rodriguez, M. Francis
259   2016.02.09 Email Chain D. Duggan, S. Belleau, J .Yohai, P. Manafort Re
      Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St
260   2016.02.22 Email Chain D. Duggan, H. Washkuhn, P. Manafort, J. Yohai
      re Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St
261   2016.02.23 Email D. Duggan to H. Washkuhn re Manafort Insurance
      Requests
262   2016.02.24 Email D. Duggan to R. Gates re Manafort Chubb Insurance
      Properties - 377 Union St & 123 Baxter Street - Declarations - NO
      Mortgagee listed both
263   2016.02.24 Email D. Duggan to R. Gates re Call
264   Moody Insurance Client Log
265   2016.07.28 Email S. Calk to D. Raico et al re Revised Portfolio Summary -
      P. Manafort and J. Yohai
266   2016.08.02 Email Chain C. Laporta, A. Ivakhnik, D. Raico, P. Manafort,
      R. Gates & H. Washkuhn re Documents Needed for Loan
267   2016.08.03 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, & H.
      Washkuhn re Documents Needed for Loan
268   2016.08.03 Email D. Raico to P. Manafort re Need S. Calk Resume
269   2016.08.04 Email P. Manafort to S. Calk re S. Calk- Professional Bio
270   2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
      Manafort re Documents needed for Loan
271   2016.08.11 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
      Washkuhn re Documents needed for Loan



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Ex.
                                    Description                                  Obj. Off’d Adm.
No.
272   2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, C. Laporta, P.
      Manafort re Documents needed for Loan
273   2016.08.11 Notice Titled Mortgage Fraud is Investigated by the FBI
274   2016.08.16 Email Chain A. Ivakhnik, T. Horn, D. Raico re 2013 P.
      Manafort's tax returns
275   2016.09.13 Email Chain T. Horn J. Ubarri, J. Norini, J. Brennan re
      Manafort
276   2016.10.05 Email D. Raico to J. Ubarri re Manafort/Yohai and M. Bello
      files - update post S. Calk meeting
277   2016.10.07 Email Chain S. Calk, P. Manafort, D. Raico re Closing on
      Nottingham & Bridgehampton Loans
278   2016.10.11 Email Chain T. Horn, D. Raico, P. Manafort, C. Laporta, J.
      Brennan re My 2015 Tax Return - FINAL Draft
279   2016.10.19 Email Chain J. Brennan, J. Ubarri, P. Manafort, D. Raico, B.
      Baldinger, J. Yohai re Restructure framework of Loan Agreement
280   2016.10.19 Email P. Manafort to B. Baldinger, D. Raico, J. Yohai re
      Restructure framework of Loan Agreement
281   2016.10.20 Email Chain D. Raico, P. Manafort, B. Baldinger, J. Yohai re
      Restructure framework of Loan Agreement
282   2016.10.21 Email P. Manafort to D. Raico re DMP P&L Sept 2016
283   2016.10.21 Email Chain D. Raico, E. Cholakis, P. Manafort re DMP P&L
      Sept 2016
284   2016.10.21 Email Chain D. Raico, J. Ubarri, J. Brennan re Manafort loan
285   2016.10.26 Email Chain C. Laporta, P. Manafort, D. Raico, J. Yohai, B.
      Baldinger & H. Washkuhn re Hampton Refinance - Deliverables Update
286   2016.10.26 Email Chain T. Horn, D. Raico, J. Brennan et al re Manafort
      Review - compared both files too
287   2016.10.28 Signed Uniform Residential Loan Application Bridgehampton
288   2016.10.28 Undisclosed Debt Acknowledgement
289   2016.11.01 377 Union St Uniform Residential Loan Application
290   2016.11.08 Email Chain V. Bartholomew, D. Raico. S. Miller, A. Sparks re
      Request for supporting documentation - Mr. P. Manafort/Loan #XXX3572
291   2016.12.07 Email D. Raico to J. Brennan re Moving forward with
      Manafort's Brooklyn property
292   2017.01.04 Email Chain H. Washkuhn, D. Raico, C. Laporta re Financials
      for P. Manafort
293   2017.01.05 377 Union St Loan Memorandum
294   2016.08.11 2401 Nottingham Uniform Residential Loan Application
295   2016.03.08 Personal Financial Statement and Loan Application
296   2016.03.09 Banc of California Loan Application
297   2016.03.10 Emails R. Gates to P. Manafort re Personal Finance Statement
      and P. Manafort to P. Kaufman re Schedule of Real Estate


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Ex.
                                    Description                                 Obj. Off’d Adm.
No.
298  2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re
     Manafort BTRs
 299 2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, & J. Yohai re
     Response
 300 2016.03.23 Email P. Manafort to P. Kaufman, J. Yohai re K. Manafort PFS
 301 2016.03.23 Email Chain J. Yohai, P. Manafort, R. Gates, P. Kaufman, K.
     LaPorte re Manafort Yohai information
 302 2016.05.05 Email Chain S. Bently, T. Quick, G. Seferian, P. Kaufman, K.
     LaPorte, et al re Baylor Holdings
 303 2016.05.09 Credit Approval Memorandum
 304 2016.05.11 Baylor Holdings LLC Resolution to Borrow
 305 2016.05.11 Business Loan Agreement
 306 2016.05.11 Commercial Guaranty
 307 [Intentionally Left Blank]
 308 2016.07.13 Email K. LaPorte, T. Holmes, G. Seferian et al re Baylor
     Holding, LLC
 309 2016.09.08 Memo K. LaPorte to File, G. Seferian, P. Alexander re Meeting
     with P. Manafort and J. Yohai
 310 2017.03.23 Handwritten Notes
 311 2017.06.27 Forbearance Agreement
 312 Handwritten Notes on Chart
 313 2016.02.08 P. Manafort Borrower's Affidavit
 314 2016.02.09 377 Union St Building Loan Agreement
 315 2016.02.09 Evidence of Property Insurance
 316 2016.02.09 P. Manafort Borrower's Affidavit
 317 2016.02.09 P. Manafort Guarantee
 318 2016.02.09 P. Manafort Guarantee
 319 2016.02.23 Recorded Building Loan Mortgage and Security Agreement
 320 2016.02.23 Recorded Mortgage, Assignment of Leases and Rents and
     Security Agreement
 321 2016.09.02 Email Chain J. Day, B. Baldinger & J. Yohai re M. Solow
     communications
 322 2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Filed Notice of
     Pendency
 323 2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Served Notice
     of Pendency
 324 2017.01.23 Genesis Capital v. MC Brooklyn et al Affirmation Canceling
     Notice of Pendency
325A P. Manafort American Express Bank Records for Account No. XXXX-
     XXXXXXX-3007
325B P. Manafort American Express Bank Records for Account No. XXXX-
     XXXXXXX-5007

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 Ex.
                                   Description                            Obj. Off’d Adm.
 No.
325C    P. Manafort American Express Bank Records for Account No. XXXX-
        XXXXXXX-6002
326     R. Gates American Express Bank Records for Account No. XXXX-
        XXXXXXX-3003
 327    Aegis Holdings Stipulation
327A    Aegis Holdings Stipulation Exhibit
 328    First Nationwide Title Stipulation
328A    First Nationwide Title Stipulation Exhibits
 329    J&J Oriental Rug Gallery Stipulation
329A    J&J Oriental Rug Gallery Stipulation Exhibits
 330    Kensington Vanguard Stipulation
330A    Kensington Vanguard Stipulation Exhibits
 331    Land, Carroll & Blair Stipulation
331A    Land, Carroll & Blair Stipulation Exhibits
 332    Land Rover of Alexandria Stipulation
332A    Land Rover of Alexandria Stipulation Exhibits
 333    Mercedes Benz of Alexandria Stipulation
333A    Mercedes Benz of Alexandria Stipulation Exhibit
 334    Sabatello Construction Stipulation
334A    Sabatello Construction Stipulation Exhibits
 335    Scott Wilson Landscaping Stipulation
335A    Scott Wilson Landscaping Stipulation Exhibit
 336    Sensoryphile Stipulation
336A    Sensoryphile Stipulation Exhibits
 337    Tax Returns Stipulation
337A    1040 Paul J. Manafort 2010 (certified)
337B    1040 Paul J. Manafort 2011 (certified)
337C    1040 Paul J. Manafort 2012 (certified)
337D    1040 Paul J. Manafort 2013 (certified)
337E    1040 Paul J. Manafort 2014 (certified)
337F    1065 DMP International 2011 (certified)
337G    1065 DMP International 2012 (certified)
337H    1065 DMP International 2013 (certified)
 337I   1065 DMP International 2014 (certified)
 337J   1065 MC Brooklyn 2012-2014 (lack of records)
337K    1065 MC Soho 2012-2014 (lack of records)
337L    1065 MC Soho 2015 (certified)
337M    1065 MC Soho 2016 (certified)
337N    1120S Davis Manafort Partners 2010 (certified)
337O    1120S Davis Manafort Partners 2011 (certified)


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 Ex.
                                      Description                                   Obj. Off’d Adm.
 No.
337P   1120S Davis Manafort Partners 2012-2014 (lack of records)
337Q   1120S John Hannah 2010 (certified)
337R   1120S John Hannah 2011 (certified)
337S   1120S John Hannah 2012 (certified)
337T   1120S John Hannah 2013 (certified)
337U   1120S John Hannah 2014 (certified)
338A   R. Gates 2009 Passport
338B   R. Gates 2011 Passport
338C   R. Gates 2013 Passport
 339   2007 Ukraine Team Contact List
 340   2010.02.20 Memo P. Manafort to V. Yanukovych re Launch of Public
       Affairs Plan
341    2012.04.08 Memo P. Manafort to V. Yanukovych re AC Project - Update
342    2012.06.04 Email Chain P. Manafort, K. Kilimnik & R. Gates re ST
       documents
343    2012.06.19 Memo P. Manafort to AK re Polling Project - Update
344    2012.07.12 Email K. Kilimnik to P. Manafort & R. Gates re EI Outreach -
       International Plan
345    2012.07.13 Email K. Kilimnik to P. Manafort, R. Gates re Demidko
       documents - Party program
346    2012.10.06 Email P. Manafort to K. Kilimnik, R. Gates, D. Rabin et. al. re
       Memo on campaign Status
347    2013.02.04 Memo P. Manafort to V. Yanukovych re US Government
       Activity
348    2013.02.19 Memo P. Manafort to V. Yanukovych re US Government
       Update
349    2013.02.21 Memo P. Manafort to V. Yanukovych re Hapsburg - Update
350    2013.04.22 Memo P. Manafort to V. Yanukovych re US Consultants
351    Memo P. Manafort to BVK, S. Lyovochkin re Campaign budget for
       national and regional TV, radio advertising
352    2014.10.29 Memo P. Manafort to S. Lyovochkin & R. Akhmetov re
       Roadmap for November - December 2014
353    DMP International Consulting Agreement
354    2010.01.31 Memo P. Manafort to V. Yanukovych, et al re Final Week -
       Strategy, Tactics and Messages
355    2010.02.16 Memo P. Manafort to V. Yanukovych re Professional Team –
       Bonuses
356    2010.02.22 Memo P. Manafort to V. Yanukovych re Wire Transfer Details
       for Personal Bonuses
357    2010.04.06 Memo P. Manafort to K. Kilimnik re SL Staff Meeting
358    2010.04.09 Memo P. Manafort to V. Yanukovych re Goals of US Trip



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Ex.
                                      Description                                 Obj. Off’d Adm.
No.
359     2011.10.11 Memo P. Manafort to V. Yanukovych and S. Lyovochkin re
        Consulting Payments
360A    2010.05.01 Leviathan and Telmar Consultancy Agreement
360B    2011.11.01 Peranova and Telmar Consultancy Agreement
360C    2012.04.01 Black Sea and Dresler Consultancy Agreement
360D    2012.06.01 Black Sea and Telmar Consultancy Agreement
360E    2012.06.05 Black Sea and Dresler Consultancy Agreement
360F    2014.03.01 DMP International and Telmar Consultancy Agreement
360G    2014.05.15 DMP International and Telmar Consultancy Agreement
 361    2013.09.20 Email A. Damianou to R. Gates re Yiakora
 362    2014.01.24 Email C. Nicolaou to R. Gates & G. Ioannou re
        Payments/Transfers
 363    2015.07.10 Email R. Gates to K. Kilimnik re Contract for 1
 364    2015.08.25 Email K. Kilimnik to R. Gates re Contract for 1
 365    2015.08.28 Email Chain P. Manafort, R. Gates & K. Kilimnik re FYI
 366    Invoice DMP International to Opposition Bloc Party
 367    2014.03.19 Email A. Damianou to R. Gates re Serangon Holdings Limited
 368    2014.05.02 Email A. Damianou to R. Gates re Cyprus Companies
369A    2009.11.09 Taunton Global Highway Loan
369B    2010.04.30 Novirex Global Highway Loan
369C    2010.06.07 Sea Chaika Leviathan Loan
369D    2010.06.15 Telmar Leviathan Loan
369E    2010.06.28 Leviathan DMP Loan
369F    2011.11.02 Telmar Peranova Loan
369G    2011.12.21 Black Sea Jeunet Loan
369H    2012.02.01 Telmar Lucicle Loan
 369I   2012.02.06 Mistaro Lucicle Loan
369J    2012.02.20 Inlord Actinet Loan
369K    2012.04.19 Dresler Black Sea Loan
369L    2012.06.26 Firemax Actinet Loan
369M    2012.06.26 Telmar Black Sea Loan
369N    2012.07.13 Novirex Olivenia Loan
369O    2012.08.20 Bedel Bletilla Loan
369P    2012.09.14 Telmar Bletilla Loan
369Q    2012.10.09 Novirex Black Sea Loan
 370    2011.11.29 Email Chain P. Manafort, R. Gates re Payments
 371    2013.07.30 Invoice Pompolo Limited to Telmar Investments
 372    2013.03.21 R. Gates Agenda
 373    2014.12.13 Email Chain R. Gates, P. Manafort re con call this morning -
        around 800 am


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Ex.
                                     Description                                   Obj. Off’d Adm.
No.
374   2013.09.11 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
      International
375   2015.04.17 Email Chain R. Gates, P. Manafort re Tax - Extensions
376   2015.08.31 Email Chain H. Washkuhn, E. Paik, L. Tanner, R. Gates re
      Income
377   2016.03.16 Email P. Manafort to R. Gates re 377 Union St Construction
      Loan
378   2016.09.13 Email Chain H. Washkuhn, R. Gates, L. Tanner re Manafort
      related entities - due by 9.15
379   2016.07.26 Email Chain H. Washkuhn, R. Gates re DMP Funding
380   2016.01.06 Email P. Manafort to R. Gates re VIP TIME SENSITIVE
381   2016.02.23 Email Chain R. Gates, M. Francis, P. Manafort re Final
      Document Request
382   2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
      re Final Document Request
383   2016.02.24 Email Chain D. Duggan & R. Gates re Call
384   2016.02.24 Email Chain R. Gates & P. Manafort re Update
385   2016.02.24 Email D. Duggan to R. Gates, N. Azzam re Manafort Chubb
      Insurance Properties - 377 Union St & 123 Baxter Street
386   2016.02.24 Email R. Gates to M. Francis, cc P. Manafort, H. Washkuhn re
      Manafort Chubb Insurance Properties
387   2016.02.08 Email R. Gates to C. Laporta re Letter
388   2016.02.08 Email Chain P. Manafort & R. Gates re Letter
389   2016.02.08 Email R. Gates to P. Manafort re Letter
390   2016.02.08 Email Chain R. Gates & C. Laporta re Letter
391   2016.03.16 Email Chain R. Gates, P. Manafort, J. Yohai re needs
392   2016.03.16 Email Chain P. Manafort & R. Gates re Responses
393   2016.03.16 Email Chain R. Gates & H. Washkuhn re 2015 P&L - IMPT
394   2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L -
      IMPT
395   2016.03.16 Email Chain R. Gates, L. Tanner, H. Washkuhn re 2015 P&L -
      IMPT
396   2016.03.16 Email R. Gates to P. Kaufman re Manafort BTRs
397   2016.03.15 Email Chain C. Laporta, R. Gates, P. Manafort, D. Fallarino, J.
      Yohai re 377 Union St Consruction Loan
398   2016.03.15 Email R. Gates, P. Manafort, C. Laporta re 377 Union St
      Consruction Loan
399   2016.04.05 Email Chain R. Gates & C. O'Brien re DMP International
      Questions
400   2016.03.22 Email Chain P. Manafort, D. Fallarino, R. Gates re 377 Union
      St Consruction Loan



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Ex.
                                     Description                                  Obj. Off’d Adm.
No.
401  2016.05.01 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
     Rodriguez re 377 Union St Consruction Loan
 402 2016.05.02 Email R. Gates to C. Laporta re Letter
 403 2016.05.06 Email Chain P. Manafort, R. Gates, D. Fallarino, T. Rodriguez
     re Primary Residence Letter - Union St
 404 2016.05.16 Email Chain C. Laporta, D. Fallarino, R. Gates, P. Manafort, T.
     Rodriguez, J. Yohai re Manafort Items Needed
 405 2016.10.21 Email Chain P. Manafort, R. Gates, H. Washkuhn re 2016 P&L
 406 2016.10.21 Email P. Manafort to R. Gates re 2016 P&L
 407 2016.10.21 Email R. Gates to P. Manafort re 2016 P&L
 408 2016.10.21 Email R. Gates to P. Manafort re 2016 P&L
 409 2016.10.21 Email P. Manafort to R. Gates re AGENDA
 410 2016.10.21 Email P. Manafort to R. Gates re pls convert
 411 2016.10.21 Email R. Gates to P. Manafort re pls convert
412A P. Manafort 2008 Passport
412B P. Manafort 2016 Passport
412C P. Manafort 2017 Passport
 413 2010.01.01 - 2017.07.25 P. Manafort AT&T Phone Records
 414 2010.06.01 Email P. Manafort to K. Kilimnik re Q and A for VY
 415 2010.06.02 Email P. Manafort to K. Kilimnik re Press and Diplomatic
     Package
 416 2011.11.29 Email Chain P. Manafort & R. Gates re Payments
 417 2012.07.14 Email Chain P. Manafort, D. Rabin, T. Fabrizio, B. Ward, K.
     Kilimnik, R. Gates & V. Stepanov re testimonials, Accomplishments,
     schedule
 418 2014.05.24 Email P. Manafort to K. Kilimnik cc R. Gates re Organization
     of Package of documents
 419 2014.08.25 Email Chain P. Manafort, N. Azzam, T. Barry & R. Joyce re
     Mortgage Rates
 420 2015.09.25 Email Chain P. Manafort & R. Gates re update
 421 2016.01.21 Email Chain P. Manafort, M. Francis & D. Fallarino re locked!
 422 2016.01.26 Email P. Manafort to J. Yohai re Howard St Appraisal
 423 2016.02.09 Email Chain P. Manafort, R. Gates, M. Francis & D. Fallarino
     re Lease for 5th Ave property
 424 2016.02.11 Email Chain P. Manafort, R. Gates, D. Fallarino & M. Francis
     re Letter of Forgiveness
 425 2016.02.12 Email P. Manafort to J. Yohai re Citizens Loan - Howard St
 426 2016.02.16 Email Chain P. Manafort, R. Gates, K. Mazzocco, T. Barry &
     H. Washkuhn re Personal and DMP bills
 427 2016.02.17 Email Chain P. Manafort & R. Gates re My signature



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Ex.
                                         Description                                    Obj. Off’d Adm.
No.
428      2016.02.24 Email P. Manafort to D. Fallarino re 2 issues re Union St and
         Baxter St
429      2016.02.26 Email Chain P. Manafort, R. Gates, M. Francis & D. Fallarino
         re Success
430      2016.03.09 Email R. Gates to P. Manafort re Personal Finance Statement
431      2016.03.10 Email P. Kaufman to P. Manafort re Schedule of Real Estate
432      2016.05.22 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai & C.
         Laporta re 377 Union St Consruction Loan
433      2016.08.04 Email Chain S. Calk & P. Manafort re S. Calk- Professional
         Bio
434      2016.08.15 Email J. Wetzel to P. Manafort re Scan
435      2016.10.26 Email Chain J. Yohai, P. Manafort, J. Yohai & D. Raico re
         Hampton Refinance - Deliverables Update
436      Certificates of Authenticity


             The government further respectfully requests leave of the Court to file additional exhibits

      if necessary.


                                                   Respectfully submitted,

                                                   ROBERT S. MUELLER, III
                                                   Special Counsel



                                           By:            /s/
      Uzo Asonye                                   Andrew Weissmann
      Assistant United States Attorney             Greg D. Andres
      Eastern District of Virginia                 Brandon L. Van Grack
                                                   Special Assistant United States Attorneys
                                                   Special Counsel’s Office
                                                   U.S. Department of Justice
                                                   950 Pennsylvania Ave., NW
                                                   Washington, DC 20530
                                                   Telephone: (202) 616-0800




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of July, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:


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